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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                  Kayleigh Marie Rexrode,                          )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
      Healthcare Revenue Recovery Group, LLC,                      )                     0:21-cv-60819-WPD
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Healthcare Revenue Recovery Group, LLC
                                       1643 North Harrison Parkway
                                       Bldg H, Ste 100
                                       Sunrise, FL 33323




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Sergei Lemberg, Esq.
                                       Florida Bar No. 1026228
                                       Lemberg Law, LLC
                                       43 Danbury Road
                                       Wilton, CT 06897


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:          Apr 16, 2021                                                                       s/ C.Davis

                                                                                        Signature of Clerk or Deputy Clerk
